Case 1:18-cv-00950-PTG-JFA Document 473-12 Filed 10/21/19 Page 1 of 3 PageID# 20585




                              Exhibit 9
Case 1:18-cv-00950-PTG-JFA Document 473-12 Filed 10/21/19 Page 2 of 3 PageID# 20586


 Subject:    RE: Sony v. Cox - discovery follow-up
 Date:       Thursday, July 25, 2019 at 6:31:22 PM Eastern Daylight Time
 From:       Kearney, Thomas
 To:         Jeﬀ Gould
 CC:         Andrew Guerra, Golinveaux, Jennifer A.
 A8achments: image001.jpg

Jeﬀ –

As you acknowledge, Cox has already produced a copy of the underlying data PlainRﬀs sought. See ECF 181 at
7. COX_SONY_00974461 contains the enRre email chain. With respect to your other quesRons, and reserving
all rights, a^er a diligent search Cox has located no addiRonal documents of the type you describe.

Best,
-Tom

 Thomas J. Kearney
 Of Counsel
 W nston & Strawn LLP
 T: +1 415-591-1000
 D: +1 415-591-6894
 w nston.com




From: Jeﬀ Gould <Jeﬀ@oandzlaw.com>
Sent: Thursday, July 11, 2019 12:03 PM
To: Golinveaux, Jennifer A. <JGolinveaux@winston.com>; Kearney, Thomas <TKearney@winston.com>
Cc: Andrew Guerra <Andrew@oandzlaw.com>
Subject: Sony v. Cox - discovery follow-up

Jennifer/Tom,

On July 2, Cox produced a document with bates COX_SONY_00974461 that appears to relate Cox’s claim that
                                            .

First, the ﬁrst subject line that appears in that document begins with “Re:”. Please conﬁrm that
COX_SONY_00974461 contains the full email chain and that no informaRon was removed or redacted. If
addiRonal informaRon appears earlier in the chain but was not produced, please let us know and produce it
promptly.

Second, the contents of the email chain indicate there was prior communicaRon between Mr. Cadenhead and
Mr. Beck in which Mr. Cadenhead requested informaRon. We have not idenRﬁed any such communicaRon in
Cox’s producRon. If you believe that has been produced, please idenRfy it by bates number. If it has not
been produced, please do so promptly and also conﬁrm that you have searched for all such communicaRons
and have or will produce it.

Third, Mr. Beck indicates that he


                                                                                                       Page 1 of 2
Case 1:18-cv-00950-PTG-JFA Document 473-12 Filed 10/21/19 Page 3 of 3 PageID# 20587


                                                                                     Please conﬁrm that
you have reviewed Mr. Beck’s ﬁles, including computer and shared drives, for documents and data that
support these purportedly ﬁnal stats, and will produce any such documents.

Thanks,
Jeﬀ

Jeﬀrey M. Gould
Oppenheim + Zebrak, LLP
4530 Wisconsin Avenue, NW | Suite 500
Washington, DC 20016
202.851.4526 direct | 202.480.2999 main
jeﬀ@oandzlaw.com |www.oandzlaw.com

Follow Oppenheim + Zebrak on Twiper: hpps://twiper.com/OandZLaw



The contents of this message may be privileged and confidential f this message has been received in error please delete it without reading it Your receipt of this
message is not intended to waive any applicable privilege Please do not disseminate this message without the permission of the author Any tax advice contained in
this email was not intended to be used and cannot be used by you (or any other taxpayer) to avoid penalties under applicable tax laws and regulations




                                                                                                                                                              Page 2 of 2
